     Case 1:15-cv-02282-RMB-AMD Document 255 Filed 07/06/20 Page 1 of 1 PageID: 4807


                          CARELLA, BYRNE, CECCHI, OLSTEIN, BRODY & AGNELLO, P.C.
                                                                   COUNSELLORS AT LAW
                                                                        _____________
                                                                                            PETER G. STEWART
CHARLES C. CARELLA                  JAMES T. BYERS               5 BECKER FARM ROAD                                                 RAYMOND J. LILLIE
BRENDAN T. BYRNE                    DONALD F. MICELI                                        FRANCIS C. HAND                         WILLIAM SQUIRE
                                                                ROSELAND, N.J. 07068-1739   AVRAM S. EULE
JAN ALAN BRODY                      A. RICHARD ROSS                                                                                 STEPHEN R. DANEK
JOHN M. AGNELLO                     CARL R. WOODWARD, III
                                                                  PHONE (973) 994-1700      CHRISTOPHER H. WESTRICK*                DONALD A. ECKLUND
CHARLES M. CARELLA                  MELISSA E. FLAX                 FAX (973) 994-1744      JAMES A. O’BRIEN III**                  MEGAN A. NATALE
JAMES E. CECCHI                     DAVID G. GILFILLAN             www.carellabyrne.com                                             ZACHARY S. BOWER+
                                    G. GLENNON TROUBLEFIELD                                 OF COUNSEL                              MICHAEL CROSS
JAMES D. CECCHI (1933-1995)         BRIAN H. FENLON                                                                                 CHRISTOPHER J. BUGGY
                                                                                            *CERTIFIED BY THE SUPREME COURT OF
JOHN G. GILFILLAN III (1936-2008)   LINDSEY H. TAYLOR                                                                               JOHN V. KELLY III
                                                                                             NEW JERSEY AS A CIVIL TRIAL ATTORNEY
ELLIOT M. OLSTEIN (1939-2014)       CAROLINE F. BARTLETT                                    **MEMBER NY AND MA BARS ONLY
                                                                                                                                    MICHAEL A. INNES


                                                                    July 6, 2020                                                    +MEMBER FL BAR ONLY




         VIA ECF

         Hon. Renee Marie Bumb, U.S.D.J.
         United States District Court, District of New Jersey
         Mitchell H. Cohen Building & U.S. Courthouse
         4th & Cooper Streets
         Camden, New Jersey 08101

                         Re:         BK Trucking Co. v. PACCAR Engine Company, et al.
                                     United States District Court, District of New Jersey
                                     Civ. No. 1:15-cv-02282-JBS-AMD

         Dear Judge Bumb:

                We represent Plaintiffs in the above captioned action and write on behalf of all parties. On
         June 26, 2020, Defendant PACCAR filed a Motion to Preclude Plaintiffs’ Expert (ECF No. 252).

                 The parties have met and conferred and agree to the following briefing schedule: (i)
         Plaintiffs will file opposition papers on August 3, 2020; and (ii) Defendant PACCAR with will
         reply papers on August 31, 2020.

                      If this is acceptable to the Court, please “so order” this letter.

                 Thank you for your attention to this matter. If the Court has any questions, we are available
         at your convenience.

                                                             CARELLA, BYRNE, CECCHI,
                                                            OLSTEIN, BRODY & AGNELLO




         CC: Counsel of Record
